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FOR THE wEsTERN DISTRICT oF TENNESSEE _ § m
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UNITED STATES OF AMERICA

VS. CR. NO. OE-ZOle-Ma

JERRY THOMPSON,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is the April 19, 2005, joint motion of the
parties requesting continuance of the report date set April 21,
2005. The continuance is necessary to allow for additional
preparation in the case.

The Court grants the motion and continues the trial date to
June 6, 2005 with a report date of Tuesday, May 31, 2005, at 2:00
p.m.

The period from April 21, 2005, through June l7, 2005, is
excluded_ under 18 U.S.C. § Blél(h)(S)(B)(ivJ to allow defense
counsel additional time to prepare.

IT rs so omnERED this the 1"°“\ day cf April, 2005.

W/Mm\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED TATES DISTRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:03-CR-20211 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

